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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                CASE NO. 11-60198-CIV-JORDAN

   SUSAN M. JORDAN,                                )
                                                   )
                  Plaintiff
                                                   )
   vs.                                             )
                                                   )
   ALLIANCEONE RECEIVABLES
                                                   )
   MANAGEMENT, INC.,
                                                   )
               Defendant.                          )
   ____________________________________
                                  FINAL JUDGMENT
         In accordance with Rules 58 and 68, final judgment is entered in favor of Ms. Jordan and
  against Allianceone Receivables Management, Inc., for violations of the Fair Debt Collection
  Practices Act, 15 U.S.C. §1692 et seq., in the amount of $1,000.00, for which let execution issue.
  Post-judgment interest shall accrue as set forth in 28 U.S.C. § 1961. Appropriate costs and fees, if
  any, will be taxed by separate motion and order.
         Any pending motions are DENIED AS MOOT , and this case is CLOSED .
         DONE   and ORDERED in chambers in Miami, Florida, this 4th day of January, 2012.



                                                               ____________________
                                                               Adalberto Jordan
                                                               United States District Judge
  Copy to:       All counsel of record
